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Attorneys for Plaintiffs

IN RE: BEXTRA AND CELEBREX
MARKETING SALES PRACTICES AND
PRODUCT LIABILITY LITIGATION

 

'l`his Document Relates To:

Betty Zz`to, et al. v. Merck & Co., Inc., et al.
(06-2619 CRB) '

Fauline Jackson, et al. v. Merck & Co., Inc., et al.
(06-2691 CRB)

th'll'p J. Fz`]?z v. Pjizer Inc
(06-4854 CRB)

Stanley Ray Dz`ckerson v. P]’Zzer Inc
(07-4405 CRB)

Harlan G. Yancey v. sz`zer Inc
(07-55 62 CRB)

Sheldon S. Schion v. Pjizer Inc
(07-5563 CRB)

 

 

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT O_F CALIFORNIA
SAN FRANCISCO DIVISION

MDL No. 1699
District Judge: Charles R. Breyer

STIPULATION AND ORDER OF
DISMISSAL WITH PREJUDICE

Come now Plaintiffs in the above-entitled actions and Defendants, by and through the
undersigned attorneys, pursuant to Federal Rule of Civil Procedure, Rule 4l(a), and hereby

stipulate to the dismissal of these actions with prejudice as to all plaintiffs named therein with '

 

 

STIPULATION AND ORDER OF DISMISSAL WlTH PREJUDICE

 

 

 

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each side bearing its own attorneys’ fees and costs.

, DATED; _7['[§§,2010 By;(Zru/Cu» (C-~

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,/lA`/(A./\/(j"" g'__`-\
DATED: OCt~ 7 , 2010 By;

 

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Facsirnile: 212-335~4501

Defendants‘ Lz'az'son Counsel

PURSUANT TO THE TERMS SET FORTH IN THE PARTIES’ STIPULATION,

  

IT IS SO ORDERED. ('~’"**

Dated:/" / ¢10/3

 

Hon. Cha(les R. Breyer r/
United States District Cou

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STI`PULATION AND ORDER OF DISMISSAL WITH PREIUDICE

 

